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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )       No. 13 CR 774-1
               vs.                          )
                                            )       Hon. John T. Tharp Jr.
GREGORY CHESTER                             )


                          DEFENDANT NOTICE OF APPEAL

      Notice is hereby given that Gregory Chester, defendant-appellant in the above named

case, hereby appeals to the United States Court of Appeals for the Seventh Circuit from a

criminal judgment and commitment issued on September 6, 2017.



                                                Respectfully submitted,

                                                Gregory Chester
                                                By: s/Beau B. Brindley




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